
PER CURIAM.
*244The defendant, Morris Dalkeith, appeals his conviction for trespass in a conveyance. We affirm, but remand for correction of the judgment to reflect that trespass in a conveyance is a second-degree misdemeanor, §§ 810.08(1) &amp; (2)(a), Fla. Stat. (2018), not a first-degree misdemeanor as listed in the judgment. As counsel for the parties candidly admit that the error was a scrivener's error, not judicial error, which when corrected will not affect the defendant's sentence, the judgment may be corrected without conducting a new sentencing hearing. Malone v. State, 225 So.3d 335, 335 (Fla. 3d DCA 2017).
Affirmed and remanded with instructions.
